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                    UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

              v.                            Criminal N o . 09-cr-120-02-JL

Jonathan Lara


                                  O R D E R


      The assented to motion to reschedule jury trial (document n o .

19)   filed    by    the   defendant   is     granted;    Final    pretrial   is

rescheduled to December 2 2 , 2009 at 2 PM; Trial is continued to the

two-week period beginning January 5 , 2010, 9:30 AM.

      Defendant shall file a waiver of speedy trial rights within 10

days. The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.
                                               / / « /->yjG&&~~

                                            Joseph N . Laplante
                                            United States District Judge

Date:    November 1 8 , 2009




cc:   Paul Garrity, Esq.
      Jennifer Davis, Esq.
      U.S. Marshal
      U.S. Probation
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